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 5
                                UNITED STATES DISTRICT COURT
 6
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8
 9    UNITED STATES OF AMERICA,                               Case No. CR19-106RSL

10                          Plaintiff,                        ORDER DENYING
11                     v.                                     DEFENDANT’S MOTION
                                                              TO AMEND APPEARANCE
12    PRINCETON BROWN,                                        BOND
13                          Defendant.
14
15         This matter comes before the Court on defendant’s “Motion to Amend the Appearance
16 Bond.” Dkt. #122. Having considered defendant’s motion, the government’s opposition
17 thereto, defendant’s reply, and the remainder of the record,
18         THE COURT HEREBY ORDERS that defendant’s motion (Dkt. #122) is DENIED.
19 Defendant shall continue to comply with all conditions of release as set forth in the Appearance
20 Bond entered on June 23, 2020 (see Dkt. #115).
21         IT IS SO ORDERED.
22         DATED this 21st day of September, 2020.
23
24                                                  A
                                                    Robert S. Lasnik
25
                                                    United States District Judge
26
27
28
     ORDER DENYING DEFENDANT’S
     MOTION TO AMEND APPEARANCE BOND - 1
